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                             IN, THE UNITED STATES DISTRICT COURT FOR THE
                               ,1   EASTERN DISTRICT OF CALIFORNIA


    United States of America,                                )
                                                             )               ORDER TO REDUCE
            v.                                               )                PROBATION FOR
                                                             )            SUCCESSFUL COMPLETION
    Marlene Isabel Medina,                                   )               OF REENTRY COURT
                                                             )                  · (18 u.s.c. 3583(3)(1)
               Defendant.                                    )
    ___________________                                      )      Docket Number: 09721:17CR00010-001

            On August 7, 2018, the defendant was accepted as a participant in the Reentry Court Program. As of
    August 6, 2019, the defendant suc_cessfully completed th,e Reentry Court Program.


            It is recommended by the Reentry Court Team that due to defendant's successful completion of the Reentry
    Court Program, the'defendant's Probation is to be reduced by one year, with a new termination date of July 29,__
    2022.


            In accordance with 18 U.S.C. § 3583(3)(1), the Reentry Court Judge, orders that a reduction is
    approved. The Probation imposed on July 30, 2018, is hereby reduced by one year for defendant's successful
    completion of the Eastern District of California's Reentry Court Program.


            These findings and recommendation are submitted to the District Judge assigned to this action, pursuant to
    28 U.S.C. § 636(b)(l)(B) and this Court's Local Rule 302 and shall be considered forthwith without the need for
    time to respond.


     Date
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            IT IS ORDERED that these findings and recommendations are hereby adopted and approved. The
    defendant's Probation is reduced by one year, with a new termination date of July 29, 2022.




    cc:     Defendant
            Assistant United States Attorney: Angela Scott
            Defense Counsel: Megan Hopkins
            FLU Unit- United States Attorney's Office
            Fiscal Clerk - Clerk's Office



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/                                                                               REENTRY COURT_ORDER_TERM REDUCTION .DOTI{
